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NY

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

UNITED STATES DISTRICT COURT B ft L Ec c

for the MAY 91 2019
Northern District of Oklahoma

 

Clerk

Matk C. Meat At, SURT

Lesley Hicks DISTRI

Plaintiff/Petitioner
Y.
Baer and Timberlake, Don Timberlake, Blake Parrott
Defendant/Respondent

 

Civil Action No.

19 CV 9°75 CVE - FHM

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

 

Nee ee ee ee

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

|. [fincarcerated. I am being held at: N/A
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

 

2. if not incarcerated. If 1am employed, my employer’s name and address are:

SELF EMPLOYED
My gross pay or wages are: $ 0.00 , and my take-home pay or wages are: $ 0.00 per
(specify pay period) IRREGULAR

 

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment W Yes O No
(b) Rent payments, interest, or dividends O Yes & No
(c) Pension, annuity, or life insurance payments O Yes & No
(d) Disability, or worker’s compensation payments O Yes — & No
(e) Gifts, or inheritances 0 Yes & No
(f) Any other sources & Yes No

Ifyou answered “Yes” to any question above, describe below or on separate pages each source of money and

state the amount that you received and what you expect to receive in the future.
| RECEIVED ONE PAYMENT IN THE AMOUNT OF $2,800 IN JAN 2019 FROM MY SELF EMPLOYMENT. . | have

received money from family and friends approximately $1,000 per month, though it varies
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4. Amount of money that I have in cash or in a checking or savings account: $_ 426.00 .

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate
value):

2000 Lexus LX470 ($3700.00)

6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):

Internet $60 p/m, cell phone $60 p/m, Car Insurance $89 p/m,

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship

with each person, and how much I contribute to their support:
N/A

8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):
Credit card with$1k limit with $450 balance, $30 p/m,

Declaration: | declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

Date: 05/15/2019

 

 

 

Printed name

BRB
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